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             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

TRUMP FOR PRESIDENT, INC., et al.,
                Plaintiffs                        No. 2:20-CV-00966-NR

                    v.
                                                  Complaint Filed 6/29/20
KATHY BOOCKVAR, in her capacity
as Secretary of the Commonwealth of
Pennsylvania, et al.,
                      Defendants


                                  ORDER


      AND NOW, this 10th       day of    August         ,       2020,       upon

consideration of Defendant Boockvar’s Motion for Adoption and Approval of a

Protective Order, and any response thereto, it is hereby ORDERED that the Motion

is GRANTED. The protective order attached to Defendant Boockvar’s Motion as

Exhibit A is hereby APPROVED and ADOPTED for purposes of this litigation

only. All parties to the litigation are hereby subject to the requirements of the

agreement.


                                     BY THE COURT:


                                      s/ J. Nicholas Ranjan
                                     J. NICHOLAS RANJAN
                                     United States District Judge
